                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                       NO. 5:17-CV-628-FL


 PEDRO RODRIGUEZ MARTINEZ,                       )
 MATEO HERNANDEZ LOPEZ, and                      )
 ELMER MENJIVAR ARGETA, on behalf                )
 of themselves and all others similarly          )
 situated,                                       )
                                                 )             CASE MANAGEMENT
                      Plaintiffs,                )                   ORDER
                                                 )
       v.                                        )
                                                 )
 CESAR MENDOZA; JORGE RAMOS;                     )
 EAST CAROLINA COMMERCIAL                        )
 SERVICES, LLC; SOLAR GUYS, INC.;                )
 and ALPHA TECHNOLOGIES                          )
 SERVICES, INC.,                                 )
                                                 )
                      Defendants.                )



       Pursuant to Federal Rule of Civil Procedure 26(f), the parties conducted a pretrial conference

in this case on April 23, 2018, with plaintiffs appearing through counsel Clermont F. Ripley and

Carol L. Brooke; defendant Alpha Technologies Services, Inc., appearing through counsel Matthew

J. Segal and Amie Flowers Carmack; defendants Solar Guys, Inc., and Jorge Ramos appearing

through counsel Kathryn F. Abernethy; and defendants Cesar Mendoza and East Carolina

Commercial Services, LLC, appearing through counsel William H. Floyd, III, and R. Daniel Boyce.

After reviewing the parties’ joint report and plan, filed May 7, 2018, the court orders the following:

                                           I. Discovery

       A.      The parties shall exchange by May 31, 2018, the information required by Federal

               Rule of Civil Procedure 26(a)(1).



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B.      Discovery will be necessary on the following subjects: reference is made to the

        discovery proposed to be undertaken in the parties’ joint report and plan.

C.      Plaintiffs shall file their anticipated motion for conditional certification no later than

        June 15, 2018.

D.      Fact discovery shall be commenced or served in time to be completed by:

        1.      if the court grants conditional certification of the FLSA collective

                action, six months after the close of the opt-in period, or

        2.      if the court denies conditional certification of the FLSA collective

                action, six months after said denial.

E.      All discovery shall close four months after the close of fact discovery.

F.      The court incorporates herein by reference the parties’ agreements regarding

        discovery of electronically stored information and privileged materials, set forth at

        sections B.4 and B.5 of the joint report and plan.

G.      The named plaintiffs, as a whole, shall be allowed to direct:

        1.      a total of 25 interrogatories and 25 requests for admission at defendant Alpha

                Technologies Services, Inc.;

        2.      a total of 25 interrogatories and 25 requests for admission at defendants Solar

                Guys, Inc. and Jorge Ramos, as a whole; and

        3.      a total of 25 interrogatories and 25 requests for admission at defendants Cesar

                Mendoza and East Carolina Commercial Services, as a whole.

H.      Defendant Alpha Technologies Services, Inc. shall be allowed to direct 25

        interrogatories and 25 requests for admission to each named plaintiff and 10


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                  interrogatories and 10 requests for admission to each opt-in plaintiff.

         I.       Defendants Solar Guys, Inc., and Jorge Ramos, as a whole, shall be allowed to direct

                  25 interrogatories and 25 requests for admission at each named plaintiff.

         J.       Defendants East Carolina Commercial Services, LLC, and Cesar Mendoza, as a

                  whole, shall be allowed to direct 25 interrogatories and 25 requests for admission at

                  each named plaintiff.

         K.       Each defendant shall be allowed to direct 25 interrogatories and 25 requests for

                  admission at each of the other defendants.

         L.       Response is due 30 days after service of any interrogatory or request for admission.

         M.       If the case is certified as a class action pursuant to Rule 23, the parties shall confer

                  and make joint report to the court within 30 days of certification about the proper

                  amount of written discovery to be served on Rule 23 class members.

         N.       Plaintiffs shall be allowed a total of 10 depositions. Each defendant shall be allowed

                  to depose each named plaintiff. If this matter is certified under Rule 23 and/or 29

                  U.S.C. § 216(b), the parties shall confer and propose to the court, within 30 days of

                  certification, an appropriate number of depositions directed to certified class members

                  or some portion thereof. Each defendant shall be allowed four depositions to depose

                  co-defendants, and each defendant may depose any single co-defendant only once.1



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           In their Rule 26(f) joint report and plan, the parties propose that “[e]ach [d]efendant shall be allowed up to
five (5) depositions of each of the other [d]efendants.” (DE 44 ¶ B.3.d). This provision, as proposed, would authorize
each defendant to depose every other defendant five times each, resulting in up to 100 depositions between co-
defendants. Authorization of such an unusually high number of depositions is unwarranted at this juncture. Accordingly,
the court construes section B.3.d of the joint report and plan as requesting the more reasonable course that each defendant
have opportunity to depose each co-defendant once. Where there are five defendants in the case, each defendant needs
only four depositions to accomplish that purpose. The parties may seek leave to increase the stated amount of
depositions, upon good cause shown.

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               Each defendant shall be allowed up to five non-party depositions. “Non-party” in

this           paragraph does not include Rule 23 class members or FLSA opt-in plaintiffs.

       O.      Each deposition shall be limited to 7 hours in one day, unless otherwise agreed by

               the parties. This time limitation shall apply separately with respect to each separate

               person designated to testify by any corporate defendant pursuant to Rule 30(b)(6).

       P.      Disclosures required by Federal Rule of Civil Procedure 26(a)(2), including reports

               from retained experts, shall be served by plaintiff within 60 days after the close of

               fact discovery, and by defendant within 60 days after plaintiffs’ deadline to disclose

               expert witnesses. Expert witnesses shall be made available for depositions no later

               than 21 days after they submit their respective disclosures. The parties shall serve

               any objections to such disclosures, other than objections pursuant to Federal Rules

               of Evidence 702, 703, or 705, Daubert v. Merrell Dow Pharmaceuticals, Inc., 509

               U.S. 579 (1993), Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999) or similar case

               law, within 14 days after service of the disclosures upon them. These objections

               should be confined to technical objections related to the sufficiency of the written

               expert disclosures (e.g., whether all of the information required by Rule 26(a)(2) has

               been provided, such as lists of prior testimony and publications). These objections

               need not extend to the admissibility of the expert’s proposed testimony. If such

               technical objections are served, counsel shall confer or make a reasonable effort to

               confer before filing any motion based on those objections.

       Q.      Supplementations of disclosures under Federal Rule of Civil Procedure 26(e) shall

               be served at such times and under such circumstances as required by that rule. In


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        addition, such supplemental disclosures shall be served within 40 days before the

        completion of fact discovery. The supplemental disclosures served 40 days before

        the deadline for completion of fact discovery must identify the universe of all

        witnesses and exhibits that probably or even might be used at trial other than solely

        for impeachment. The rationale for the mandatory supplemental disclosures 40 days

        before the deadline for fact discovery is to put opposing counsel in a realistic

        position to make strategic, tactical, and economic judgments about whether to take

        a particular deposition (or pursue follow-up “written” discovery) concerning a

        witness or exhibit disclosed by another party before the time allowed for discovery

        expires. Counsel should bear in mind that seldom should anything be included in the

        final Rule 26(a)(3) pretrial disclosures that has not previously appeared in the initial

        Rule 26(a)(1) disclosures or a timely Rule 26(e) supplement thereto; otherwise, the

        witness or exhibit probably will be excluded at trial. See Fed. R. Civ. P. 37(c)(1).

R.      To avoid the filing of unnecessary motions, the court encourages the parties to utilize

        stipulations regarding discovery procedures. However, this does not apply to

        extensions of time that interfere with the deadlines to complete all discovery, for the

        briefing or hearing of a motion, or for trial. See Fed. R. Civ. P. 29. Nor does this

        apply to modifying the requirements of Federal Rule of Civil Procedure 26(a)(2)

        concerning experts’ reports.

S.      Discovery in this case may be governed by a protective order. If the parties disagree

        concerning the need for, and/or the scope or form of, a protective order, the party or

        parties seeking such an order shall file an appropriate motion and supporting


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   memorandum. If the parties agree concerning the need for and scope and form of a

   protective order, their counsel shall confer and then submit a jointly proposed

   protective order as soon as is practicable.

   1.     A jointly proposed protective order shall include, in the first paragraph, a

          concise but sufficiently specific recitation of the particular facts in this case

          that would provide the court with an adequate basis upon which to make the

          required finding of good cause for issuance of the protective order pursuant

          to Federal Rule of Civil Procedure 26(c).

   2.     Any proposed protective order shall set out the procedure for filing under

          seal confidential documents, things, and/or information, pursuant to the

          requirements of Stone v. University of Maryland Medical System Corp., 855

          F.2d 178, 180-181 (4th Cir. 1988). Specifically, a proposed protective order

          shall include the following language: “Each time a party seeks to file under

          seal confidential documents, things, and/or information, said party shall

          accompany the request with a motion to seal and a supporting memorandum

          of law specifying (a) the exact documents, things, and/or information, or

          portions thereof, for which filing under seal is requested; (b) where it is

          necessary for the court to determine the source of the public’s right to access

          before a request to seal may be evaluated, whether any such request to seal

          seeks to overcome the common law or the First Amendment presumption to

          access; (c) the specific qualities of the material at issue which justify sealing

          such material, taking into account the balance of competing interests in


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               access; (d) the reasons why alternatives to sealing are inadequate; and,

               (e) whether there is consent to the motion. Finally, in addition to the motion

               and supporting memorandum, said party must set out such findings in a

               proposed order to seal for the court.”

        3.     Before ruling on any motion to seal the court will give the public notice of

               the motion and a reasonable opportunity to challenge it. While individual

               notice is unwarranted, the court will docket the motion reasonably in advance

               of deciding the issue, or, where applicable, the court will notify persons

               present in courtroom proceedings of the motion. The court will rule

               favorably upon any motion to seal only after carefully weighing the interest

               advanced by the movant and those interests favoring public access to judicial

               documents and records, and only upon finding that the interests advanced by

               the movant override any constitutional or common law right of public access

               which may attach to the documents, things, and/or information at issue.

        4.     The parties are directed to Section V.G. of the court’s Electronic Case Filing

               Administrative Policies and Procedures Manual, available online at

               http://www.nced.uscourts.gov/pdfs/cmecfPolicyManual.pdf, for information

               regarding how to file and serve sealed documents through the court’s Case

               Management / Electronic Case Filing system (“CM/ECF”).



                                   II. Motions

A.      Any motion shall be accompanied at time of filing with a proposed form of order,


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                  stating its requested relief.

         B.       Any motion for leave to join additional parties or to otherwise amend the pleadings

                  shall be filed by plaintiff with 30 days after the close of the opt-in period or 30 days

                  after this court denies plaintiffs’ anticipated motion for conditional certification.

                  Defendants shall have 14 days after plaintiffs’ deadline to join parties or amend

                  pleadings.

         C.       All potentially dispositive motions shall be filed within 60 days after the close of all

                  discovery. All motions to exclude testimony of expert witnesses pursuant to Federal

                  Rules of Evidence 702, 703, or 705, Daubert v. Merrell Dow Pharmaceuticals, Inc.,

                  509 U.S. 579 (1993), Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999), or similar

                  case law, shall be filed by the deadline set for dispositive motions.2 In conjunction

                  with any such motion to exclude expert testimony or response thereto, the parties

                  shall include where available all materials associated with the challenged expert,

                  including resumes, reports, depositions, and objections to qualifications.

         D.       Any motion to compel discovery shall be filed and served within 30 days of the act

                  or omission in discovery complained of, after good faith effort between the parties

                  to resolve issue(s), unless upon good cause shown, time for filing such motion is

                  extended. The same applies prior to filing any motion for protective order in

                  discovery. Before filing, the court requires notice of discovery issue(s) concerning

                  for its consideration in setting a telephonic discovery conference. The complaining


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             Given the court’s specific directives expressed herein, allowance by the Local Civil Rules for filing of
motions in limine in advance of trial does not provide a renewed opportunity in this case to file motions to exclude
testimony of expert witnesses, absent showing that issues raised in motions in limine could not have been raised at the
time of deadline for filing dispositive motions.

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        party must notify the office of the case manager, by telephone at (252) 638-8534, of

        the discovery dispute, and provide the parties’ mutually agreed to suggested dates

        and times for such conference. The complaining party then will be instructed by the

        case manager how to transmit discovery material directly bearing on the particular

        dispute(s), either by facsimile or email, to the court for its preview. Any material

        provided to the court shall be copied to the opposition. If the opposing party is

        desirous of supplementing discovery material for the court, counsel similarly shall

        contact the case manager by telephone, for transmittal instruction. The case manager

        promptly will notify counsel by email as to any conference setting. Motions to

        compel filed after the 30 day deadline and/or without advance conference with the

        court, absent extenuating circumstances, summarily will be denied. Discovery

        motions ordinarily will be referred to a magistrate judge for ruling.

E.      Any motion to continue must conform with the requirements set forth in Local Civil

        Rule 6.1, and also include a detailed statement as to the reason for the requested

        continuance or extension of time together with the proposed order. Continuances

        will be granted only upon showing of good cause, particularly focusing upon the

        evidence of diligence by the party seeking delay and of prejudice that may result if

        the continuance is denied.



                  III. Alternative Dispute Resolution (“ADR”)

A.      A settlement procedure is required in virtually every case, to be conducted before the

        close of discovery if the case is automatically selected for mediation pursuant to


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               Local Alternative Dispute Rule 101.1a(b), or before the final pretrial conference if

               not automatically selected.

       B.      This case has been automatically selected for mediation. Reference is made to Local

               Alternative Dispute Rule 101.1 et seq. for required deadlines. In addition, the parties

               have stipulated to the following: mediation shall occur within 30 days after the close

               of all discovery. The parties shall file a notice of selection of mediator within 21

               days hereof.

       C.      If at any time a settlement is reached, it shall be reported immediately to this court.

               The parties shall refer to Local Alternative Dispute Rule 101.1e for their specific

               obligations.

                                IV. Pretrial and Trial Scheduling

       After the court has ruled on any dispositive motion(s), the court will enter a scheduling order

governing deadlines and procedures for final pretrial conference and trial, as appropriate.

       This case management order shall not be modified except by leave of court upon a showing

of good cause, and all requirements set forth in the court’s Local Civil Rules governing pretrial and

trial procedures not altered herein shall be strictly observed.

       SO ORDERED, this the 8th day of May, 2018.




                                               _____________________________
                                               LOUISE W. FLANAGAN
                                               United States District Judge




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